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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 KENNETH HASSON, individually and on
 behalf of all others similarly situated,

                Plaintiff,

        v.

 COMCAST CABLE COMMUNICATIONS                       Master File No. 2:23-cv-05039-JMY
 LLC,

                Defendant.

 This Document Relates to: All Actions


                      MAJORITY PLAINTIFFS’ STATUS REPORT
                 IN RESPONSE TO CASE MANAGEMENT ORDER NO. 1

       Majority Plaintiffs, through undersigned proposed Interim Co-Lead Counsel Norman

Siegel and Gary Lynch, provide this response to the Court’s request for additional information as

set forth in Case Management Order No. 1.

       1. Status of Efforts to Self-Order Plaintiffs’ Counsel:

       As set forth in Majority Plaintiffs’ Joint Application for Appointment of Co-Lead Counsel,

Co-Liaison Counsel, and Plaintiffs’ Executive Committee (Doc. 22), Mr. Siegel and Mr. Lynch

have worked diligently and in good-faith to coordinate their litigation efforts for the benefit of the

putative class. See Manual for Complex Litigation, Fourth (“MCL”) §§ 10.22 (noting desirability

of “the attorneys coordinat[ing] their activities without the court’s assistance”), 10.272 (describing

“private ordering” approach to leadership of consolidated actions). Those discussions resulted in

several highly-qualified data breach lawyers stepping back from their stated desire to serve as lead

counsel in this case, either to serve on the proposed Plaintiffs’ Executive Committee, or in many
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instances, agreeing to take no position at all. (See April 8, 2024 email to all plaintiffs’ counsel,

attached hereto as Ex. A). All of these lawyers—representing 20 of the 24 cases on file—supported

the leadership structure set forth in Majority Plaintiffs’ Motion. That left lawyers from the 4

remaining cases to file their own motions for leadership. See Docs. 20, 21, 23, and 24.

       As directed by the court in Case Management Order No. 1, Mr. Siegel and Mr. Lynch

returned to their efforts to confer with the remaining applicants on a consensus slate, and are

pleased to report that Mr. Garber (Doc. 20); Mr. Leniski (Doc. 23); and Ms. Schubert (Doc 24)

have all agreed to join Majority Plaintiffs’ Executive Committee. 1 Further, Erin Comite, who

previously was proposed as Chair of the Executive Committee, has agreed to seek no position at

all, for purposes of keeping the leadership structure streamlined. As a result, Majority Plaintiffs

modify their request for appointment as follows:

       Co-Lead Counsel:

           •   Gary F. Lynch, Lynch Carpenter, LLP; and
           •   Norman E. Siegel, Stueve Siegel Hanson LLP

       Members of Plaintiffs’ Executive Committee:

           •   E. Michelle Drake, Berger Montague PC;
           •   Ryan J. Clarkson, Clarkson Law Firm;
           •   Amanda G. Fiorilla, Lowey Dannenberg, P.C.;
           •   Todd Garber, Finkelstein, Blankinship, Frei-Pearson & Garber, LLP;
           •   Joe Leniski, Herzfeld, Suetholz, Gastel, Leniski, and Wall PLLC;
           •   Rosemary M. Rivas, Gibbs Law Group LLP;
           •   Kevin Laukaitis, Laukaitis Law LLC;
           •   Matthew L. Lines, Isicoff Ragatz;

1
  On May 3, 2024, Mr. Siegel and Mr. Lynch conferred with John Macoretta of Spector Roseman
and Kodroff, P.C., who declined to join Plaintiffs’ Executive Committee, and instead requested a
Co-Lead position. Although Spector Roseman is certainly a qualified law firm, the firms making
up the Majority Plaintiffs slate have unparalleled data breach experience and are likewise
experienced in this District. Moreover, given the number of highly qualified firms that agreed to
abandon their lead counsel applications to support efforts at a consensus slate, appointing Spector
Roseman as a Co-Lead counsel would be inequitable under the circumstances. Majority Plaintiffs
remain willing to include Mr. Macoretta as a member of the Executive Committee.


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           •   Amber Schubert, Schubert Jonckheer & Kolbe LLP.

       Co-Liaison Counsel:

           •   James A. Francis, Francis Soumilas Mailman, P.C.; and
           •   Charles E. Schaffer, Levin Sedran & Berman LLP.

       As set forth in Majority Plaintiffs’ motion, this proposed group—now a near consensus

with 23 of 24 cases in agreement—has significant nationwide data breach class action experience,

knowledge of the applicable law, and substantial resources to zealously represent the proposed

class. See Fed.R.Civ.P. 23(g). To summarize again here, the Majority Plaintiffs’ slate: 1) is

comprised of a diverse group of nationally-recognized data breach attorneys, including several

with strong connections to this Court and the local legal community; 2) was first to file this

litigation; 3) led the efforts to have these cases centralized in the Eastern District of Pennsylvania,

first by filing a JPML petition and then by coordinating Section 1404 transfers to this Court; 4)

moved for the consolidation of this action before this Court (as ordered by Chief Judge Goldberg);

5) has been instrumental in developing the relevant legal precepts which will govern this litigation,

including Pennsylvania’s common law negligence standard for data breaches and the Third

Circuit’s Article III standing requirements for victims of a data breach; and 6) has spent substantial

time and effort building what is now a near-consensus slate with the support of all but one case. A

revised proposed Order reflecting the agreement of Majority Plaintiffs is attached as Ex. B.

       Mr. Seigel and Mr. Lynch’s ability to achieve near-consensus for a plaintiffs’ leadership

structure in a consolidated litigation involving so many attorneys demonstrates the reputation for

honest-brokering and solid leadership that they have established with their peers in the data breach

community. Mr. Seigel and Mr. Lynch personally know, and have previously worked with, nearly




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every plaintiffs’ counsel in this consolidated action. 2 They are uniquely positioned to lead this case

on behalf of the plaintiffs and have a documented history of efficiently delegating and managing

the work of other data breach lawyers. The leadership structure they are proposing is consistent

with how other similarly-sized data breaches have been staffed.

       2. Additional Case Management Issues:

       The Court also indicated the following additional case management conference issues will

be addressed at the conference: “the responsibilities of lead counsel, the allocation of tasks and

responsibilities for non-lead counsel, expectations for maintaining expense and time records for

any subsequent financial obligations, developing and proposing to the Court a schedule for

commencement, execution, and completion of discovery, maintaining communications with

defense counsel, preparing for future conferences and preparing for any report(s) pursuant to

F.R.C.P. 16, and similar matters.”

       With respect to the responsibilities of lead counsel and the allocation of tasks and

responsibilities of non-lead counsel, Majority Plaintiffs respectfully submitted a Proposed Order

Appointing Interim Class Counsel with their application for appointment of Interim Class Counsel.

See Doc. 22-14. That Order—now modified and included here as Ex. B—includes detailed

descriptions of responsibilities and workflows that would apply to provide structure to the Majority

Plaintiffs’ slate. Co-Lead Counsel would likewise be responsible for centralizing communications

with defense counsel, and respectfully suggest that the Court hold status conferences

approximately every 45 days, with joint agenda to be submitted seven days before each conference.




2
  While Mr. Seigel and Mr. Lynch have not yet had the opportunity to work with Mr. Macoretta,
they are well-familiar with his law firm and their dealings with him in this matter have been
extremely amicable.


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       In addition, proposed Co-Lead Counsel have evaluated the interests and skill sets of the

members of the Executive Committee and intend to manage the case around four committees with

the following members (see Proposed Order, Doc. 22-14 at ¶ 6):

       Law and Briefing:

           •   Todd Garber, Finkelstein, Blankinship, Frei-Pearson & Garber, LLP
           •   Rosemary M. Rivas, Gibbs Law Group LLP
           •   Amber Schubert, Schubert Jonckheer & Kolbe LLP


       Offensive Discovery:

           •   Joe Leniski, Herzfeld, Suetholz, Gastel, Leniski, and Wall PLLC
           •   Matthew L. Lines, Isicoff Ragatz

       Defensive Discovery:

           •   Amanda G. Fiorilla, Lowey Dannenberg, P.C.
           •   Kevin Laukaitis, Laukaitis Law LLC

       Experts:

           •   Ryan J. Clarkson, Clarkson Law Firm
           •   E. Michelle Drake, Berger Montague PC

       Finally, in order to properly manage the time and expense of the litigation, proposed Co-

Lead Counsel intend to impose a billing protocol for all Plaintiffs’ counsel in the litigation. See

Ex. C. This protocol has been used in numerous cases (including many data breach cases) and will

ensure that the case is litigated consistent with Fed.R.Civ.P. 1. At the Court’s request, proposed

Co-Lead Counsel will submit summary billing reports every quarter so that the Court can

independently monitor Plaintiffs’ time.

       3. Future Scheduling and Discovery:

       In the Proposed Order, Majority Plaintiffs propose filing a Consolidated Complaint within

45 days of appointment. See Doc. 22-14 at ¶ 11. On May 8, 2024, proposed Co-Lead Counsel met



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and conferred with counsel for Defendants and jointly propose the following schedule for the

Court’s consideration:

           •   Consolidated Complaint: 45 days from the appointment of Interim Class Counsel;

           •   Motions or Answer in response to Consolidated Complaint: 45 days from the filing

               of the Consolidated Complaint;

           •   Response to any Motion filed in response to the Consolidated Complaint: 45 days

               from the filing of any Motion.

           •   Reply in support of Motion in response to the Consolidated Complaint: 30 days

               from the filing of the Response to the Motion.

       Finally, the Parties met and conferred regarding the commencement of discovery. Plaintiffs

believe that discovery should commence with the filing of the Consolidated Complaint.

Defendants’ position is that discovery should not start until after the Court has decided any Motion

filed in response to the Consolidated Complaint.

                                          CONCLUSION

       For the reasons stated herein and in their original Motion for Appointment, Plaintiffs

respectfully request that the Court grant their joint application for leadership and enter the attached

revised Order appointing Gary F. Lynch of Lynch Carpenter LLP and Norman E. Siegel of Stueve

Siegel Hanson LLP as Co-Lead Counsel, creating a Plaintiffs’ Executive Committee comprised of

the nine members outlined above, and appointing James A. Francis of Francis Mailman Soumilas,

P.C. and Charles E. Schaffer of Levin Sedran & Berman LLP as Co-Liaison Counsel.




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Date: May 10, 2024


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